                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION - DETROIT

In re:                                                      Case No. 17-56161-LSG
         Lisa M Pinter

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        David Wm. Ruskin, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 11/21/2017.

         2) The plan was confirmed on 07/18/2018.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
09/07/2018.

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 02/04/2021.

         5) The case was dismissed on 02/23/2021.

         6) Number of months from filing or conversion to last payment: 33.

         7) Number of months case was pending: 41.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $16,657.31.

         10) Amount of unsecured claims discharged without full payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor               $11,438.02
       Less amount refunded to debtor                          $1,000.00

NET RECEIPTS:                                                                                    $10,438.02


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                 $4,059.50
    Court Costs                                                               $0.00
    Trustee Expenses & Compensation                                         $827.59
    Other                                                                     $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                  $4,887.09

Attorney fees paid and disclosed by debtor:                   $80.00


Scheduled Creditors:
Creditor                                       Claim         Claim            Claim        Principal      Int.
Name                                 Class   Scheduled      Asserted         Allowed         Paid         Paid
13/7, LLC                        Unsecured         454.00        454.45           454.45           0.00       0.00
72 VILLAGE COURT LLC             Unsecured      2,200.00            NA               NA            0.00       0.00
AARON'S                          Secured           960.00           NA               NA            0.00       0.00
AFNI                             Unsecured         933.00           NA               NA            0.00       0.00
ALLIED BUISINESS SERVICES        Unsecured         260.00           NA               NA            0.00       0.00
AMERICREDIT FINANCIAL SERVICES   Unsecured     15,826.00     14,139.67        14,139.67            0.00       0.00
AMERICREDIT FINANCIAL SERVICES   Unsecured           0.00           NA               NA            0.00       0.00
APPROVED CASH ADVANCE            Unsecured         676.00           NA               NA            0.00       0.00
ATLAS ACQUISITIONS LLC           Unsecured           0.00           NA               NA            0.00       0.00
ATLAS ACQUISITIONS LLC           Unsecured         500.00      3,310.55         3,310.55           0.00       0.00
BANK OF AMERICA                  Unsecured         227.02           NA               NA            0.00       0.00
BANK OF AMERICA                  Unsecured          21.00           NA               NA            0.00       0.00
BEAUMONT                         Unsecured         500.00           NA               NA            0.00       0.00
CAVALRY PORTFOLIO SERVICES LLC   Unsecured         622.00           NA               NA            0.00       0.00
CENTRAL CREDIT SERVICES INC      Unsecured         614.55           NA               NA            0.00       0.00
CHARTER SPECTRUM                 Unsecured         229.98           NA               NA            0.00       0.00
CHASE BANK                       Unsecured         800.00           NA               NA            0.00       0.00
COMCAST CABLE                    Unsecured      2,666.14            NA               NA            0.00       0.00
CONSUMERS ENERGY                 Unsecured         403.31        436.58           436.58           0.00       0.00
CREDIT COLLECTION SERVICES       Unsecured         878.00           NA               NA            0.00       0.00
DOWNRIVER SURGICAL ASSOC         Unsecured          85.00           NA               NA            0.00       0.00
DTE ENERGY                       Unsecured      1,200.00         754.23           754.23           0.00       0.00
HCFS HEALTHCARE FINANCIAL SERV   Unsecured      1,135.80            NA               NA            0.00       0.00
HENRY FORD HEALTH SYSTEM         Unsecured         100.00           NA               NA            0.00       0.00
HRRG                             Unsecured         800.00           NA               NA            0.00       0.00
HUNTINGTON BANK                  Unsecured         679.98           NA               NA            0.00       0.00
I C SYSTEMS                      Unsecured         274.00           NA               NA            0.00       0.00
INTERNAL REVENUE SERVICE         Priority       1,668.41       2,946.39         2,946.39           0.00       0.00
INTERNAL REVENUE SERVICE         Unsecured      3,725.36       2,364.50         2,364.50           0.00       0.00
IRS                              Unsecured           0.00           NA               NA            0.00       0.00
JEFF GIANNOLA                    Unsecured      1,355.79            NA               NA            0.00       0.00



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Scheduled Creditors:
Creditor                                      Claim           Claim         Claim        Principal       Int.
Name                                Class   Scheduled        Asserted      Allowed         Paid          Paid
JJ MARSHALL & ASSOC             Unsecured      2,360.61              NA           NA             0.00        0.00
KAKA MANAGEMENT                 Secured             0.00            0.00         0.00            0.00        0.00
LJ ROSS & ASSOCIATES            Unsecured         101.00             NA           NA             0.00        0.00
MCLAREN MACOMB                  Unsecured         147.03             NA           NA             0.00        0.00
MICHIGAN UNEMPLOYMENT INSURA Unsecured         3,482.38         3,771.57     3,771.57            0.00        0.00
MIDWEST RECOVERY SYSTEMS        Unsecured         840.00             NA           NA             0.00        0.00
MIDWEST RECOVERY SYSTEMS        Unsecured         593.00             NA           NA             0.00        0.00
OAKWOOD HEALTH                  Unsecured          28.07             NA           NA             0.00        0.00
ORION PORTFOLIO SERVICES LLC    Unsecured            NA           175.00       175.00            0.00        0.00
PHOENIX FINANCIAL SERV          Unsecured         315.00             NA           NA             0.00        0.00
PREMIER BANKCARD LLC            Unsecured         326.00          326.77       326.77            0.00        0.00
RANDALL J BARTOE DDS            Unsecured          26.80             NA           NA             0.00        0.00
SANTANDER CONSUMER USA          Secured        6,141.00         6,550.73     6,550.73       2,752.17      653.08
SJMH MED PRACTICE               Unsecured          59.56             NA           NA             0.00        0.00
STATE OF MICHIGAN               Unsecured           0.00             NA           NA             0.00        0.00
STATE OF MICHIGAN CD            Priority       6,629.23           667.81       667.81            0.00        0.00
STATE OF MICHIGAN CD            Secured             0.00        6,715.90     6,715.90       1,563.67      582.01
STATE OF MICHIGAN CD            Unsecured           0.00           51.75        51.75            0.00        0.00
SYNCHRONY BANK                  Unsecured            NA             0.00         0.00            0.00        0.00
T MOBILE/T-MOBILE USA INC BY AM Unsecured      1,478.00         1,431.42     1,431.42            0.00        0.00
TCF NATIONAL BANK               Unsecured         144.00             NA           NA             0.00        0.00
U S DEPARTMENT OF EDUCATION     Unsecured      4,374.00       17,369.49     17,369.49            0.00        0.00
URGENT CARE OF FARMINGTON HIL Unsecured            60.00             NA           NA             0.00        0.00
US DEPT OF ED/GSL/ATL           Unsecured      3,714.00              NA           NA             0.00        0.00
US DEPT OF ED/GSL/ATL           Unsecured      3,166.00              NA           NA             0.00        0.00
US DEPT OF ED/GSL/ATL           Unsecured      1,629.00              NA           NA             0.00        0.00
US DEPT OF ED/GSL/ATL           Unsecured      1,496.00              NA           NA             0.00        0.00
US DEPT OF ED/GSL/ATL           Unsecured      1,177.00              NA           NA             0.00        0.00
US DEPT OF ED/GSL/ATL           Unsecured      1,046.00              NA           NA             0.00        0.00
US DEPT OF ED/GSL/ATL           Unsecured         724.00             NA           NA             0.00        0.00
VIRTUOSO SOURCING GROU          Unsecured         933.25             NA           NA             0.00        0.00


Summary of Disbursements to Creditors:
                                                              Claim            Principal                Interest
                                                            Allowed                Paid                    Paid
Secured Payments:
      Mortgage Ongoing                                      $0.00                 $0.00                 $0.00
      Mortgage Arrearage                                    $0.00                 $0.00                 $0.00
      Debt Secured by Vehicle                           $6,550.73             $2,752.17               $653.08
      All Other Secured                                 $6,715.90             $1,563.67               $582.01
TOTAL SECURED:                                         $13,266.63             $4,315.84             $1,235.09

Priority Unsecured Payments:
       Domestic Support Arrearage                              $0.00                 $0.00               $0.00
       Domestic Support Ongoing                                $0.00                 $0.00               $0.00
       All Other Priority                                  $3,614.20                 $0.00               $0.00
TOTAL PRIORITY:                                            $3,614.20                 $0.00               $0.00

GENERAL UNSECURED PAYMENTS:                            $44,585.98                    $0.00               $0.00



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Disbursements:

         Expenses of Administration                              $4,887.09
         Disbursements to Creditors                              $5,550.93

TOTAL DISBURSEMENTS :                                                                       $10,438.02


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 04/21/2021                             By:/s/ David Wm. Ruskin
                                                                   Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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